Case 4:21-cr-20184-MFL-CIl ECF No. 43, PagelD.132 Filed 06/16/21 Page 1of5

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
United States of America, Criminal No. 21-cr-20184
Plaintiff, Honorable Matthew F. Leitman
v. Violations:

21 U.S.C. §§ 841(a)(1)
D-1 Michael Fraley, Jr.,

a/k/a “Sarge,” I LL
D-2 Alexandria N. Dodge, JUN 16
Defendants. vs Ne RCT CO
/ FLINT, MICHIGAN

 

FIRST SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

(21 U.S.C. §§ 841(a)(1) & (b)(1)(B)(viii) - Distribution of Methamphetamine)

D-1 Michael Fraley, Jr.
1. On or about December 1, 2020, in the Eastern District of Michigan,

defendant, Michael Fraley, Jr., a/k/a Sarge, knowingly and intentionally distributed
5 grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a

Schedule II controlled substance.

All in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).

 

 
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COUNT TWO
(21 U.S.C. §§ 841(a)(1) & (b)(1)(A)(viii) - Distribution of Methamphetamine)
D-2 Alexandria N. Dodge

2. On or about December 3, 2020, in the Eastern District of Michigan,
defendant, Alexandria N. Dodge, knowingly and intentionally distributed 50 grams
or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule
II controlled substance.

All in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii).

COUNT THREE
(21 U.S.C. §§ 841(a)(1) & (b)(1)(C) - Distribution of Methamphetamine)
D-1 Michael Fraley, Jr.

3. On or about March 24, 2020, in the Eastern District of Michigan,
defendant, Michael Fraley, Jr., a/k/a Sarge, knowingly possessed with the intent to
distribute a mixture or substance containing a detectable amount of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance.

All in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

 
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FORFEITURE ALLEGATION

4. Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides
notice to the defendant of its intention to seek forfeiture of all proceeds, direct or
indirect, or property traceable thereto, all property that facilitated the commission
of the violations alleged, or property traceable thereto, and all property involved in,
or property traceable thereto, of the violations set for in this Indictment.

3. Substitute Assets: Ifthe property described above as being subject to
forfeiture, as a result of any act or omission of defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;

©

Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).

 
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SAIMA S. MOHSIN
Acting United States Attorney

ANTHONY VANCE
Chief, Branch Offices

s/Blaine Longsworth

THIS IS A TRUE BILL

s/Grand Jury Foreperson

 

 

BLAINE LONGS WORTH
Assistant United States Attorney

Dated: 6-16-2021

GRAND JURY FOREPERSON

 
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United States District Court Criminal Ca Case Number:
Eastern District of Michigan se Cover Sheet 21-cr-20184

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

Companion Case Information eS Companion Case Number:
This may be a companion case based on LCrR 57.10(b)(4)1:

 

 

 

 

 

 

OYes MINo AUSA’s Initials: BL
Case Title: USA v. Michael Fraley, Jr., et al | L E
County where offense occurred: Genesee
Offense Type: Felony JUN 16 2021

Indictment -- based upon LrCrR 57.10(d) [Complete Superseding section below]U.S. DISTRICT COURT

. . FLINT, MICHIGAN
Superseding Case Information

 

Superseding to Case No: 21-cr-20184 Judge: Matthew F. Leitman

 

 

Reason:
Embraces same subject matter but adds the additional defendants or charges below:

Defendant Name Charges Prior Complaint (if applicable
Michael Fraley, Jr. 21 U.S.C. §§ 841(a)(1)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

s/Blaine Longsworth
June 16, 2021

Date Blaine Longsworth
Assistant United States Attorney
600 Church Street
Flint, MI 48502
blaine. longsworth@usdoj.gov
(810) 766-5177

 

 

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

 
